         Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 1 of 9




                   UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           EL PASO DWISION


SAMUEL VELASCO-GURROLA,              I



    Petitioner,


   Vs.                               I




                                             Crim. Case No. 3:19-CV-00320-DB
UNITED STATES OF AMERICA,            I


    Respondent,


VELASCO'S AFFIDAVIT IN SUPPORT OF PENDING 28 U.S.0 Sec. 2255
MOTION


 Samuel Velasco-Gurrola, ("Velasco"), hereby acting Pro se, respectfully moves to
Supplement and/or Amend his Affidavit in Support of his pending motion to
Vacate, Set Aside, or Conect his Sentence and conviction( 28 U.S.0 2255 motion)
pursuant to Fed.R.Civ.p. 15.




                                               Respectfully Submitted


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        Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 2 of 9




                  CERTIFICATE OF SERVICE
 I, Samuel Velasco Gurrola, hereby certify under penalty of perjury, that
on this Jmuary 4, 2020, I placed a copy of the foregoing Veasco's
Affidavit in Support of Pending 28 US.0 Sec. 2255 at United States
Penitentiary Canaan. A copy of the same was served to the United States
Attorney's office for the Western District of Texas.


                                             Respectfully Submitted




        Pro se Litigant
        SAMUEL VELASCO GURROLA
        Reg No. 51956-380
        UNITED STATES PENiTENTIARY
        P.O. BOX. 300
        WAYMART, PENNSILVANIA. 18472
           Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 3 of 9



STATE OF PENNSYLVANIA
                                    ss                            Case No. 3:19-CV-320-DB
COUNTY OF WAYNE                 )




                       AFFIDAVIT OF SAMUEL VELASCO GURROLA
                    IN SUPPORT OF HIS 28 U.S.0 § 2255 MOTION


       I,   Samuel Velasco Gurrola, having been duly sworn, hereby

depose and state as follows.

       1.    I     am over 18 years of age;                   I    reside in Waymart, Pennsylvania;

I   am competent to provide the information articulated herein;                                   and if

called to testify in this matter                        I    could and would provide testimony

consistent with the facts articulated below.

      2.     My brother, Emmanuel Velasco Gurrola, my sister, Dalia

Valencia, and         I   were defendants in the above-styled cause.                          I

exercised my right to trial in that case and was found guilty by a

jury of three (3) counts of conspiracy to kill in a foreign country,

in violation of 18 U.S.C.                §    956(a),         and four (4) counts of conspiracy

to cause travel in interstate or                        foreign commerce in the commission

of murder-for-hire,           in violation of 18 U.S.C.                    §    1958(a).

       3.     I    am executing the present affidavit in order to clarify

inaccurate record information that was prejudicial against my

case during my trial and that resulted in my conviction.

      4.      It    is readily apparent from even a cursory review of                             the

record that the Government's case against me rested almost exclu-

sively upon the testimony of Government witness Arturo Garcia.

Arturo Garcia (hereinafter "Garcia") testified that he partici-

pated in and overheard conversations in which                              I,   Alan Garcia

(Arturo Garcia'a son), and others divised a plan to have Ruth


                                             Page   1       of 4
       Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 4 of 9



Sagredo and certain members of her family killed.           According to

Garcia, my brother Emmanuel, and my sister Dalia, were part of an

independent branch of the aforementioned conspiracy.           However,

the case in the matter sub judice has been contaminated,            and thus

the conviction rendered unreliable, by false and inaccurate

evidence.

     5.     According to the Government, Alan Garcia was       a   hit man

working under my command.       However, Alan Garcia was murdered during

the commission of a kidnapping in Juarez, Mexico.           According to

the Government's theory, Alan Garcia's role in the instant case

was that he was the person who planned and executed the commission

of the murders of Cinthia Sagredo, Ruth Sagredo Escobedo, Roberto

Martinez, and Ruth's father, Francisco Sagredo on November 22,

2008 in Juarez, Mexico,      and in concert with two other alleged

hit men named Ruben Alejandro Garcia Valdiviezo ("Homie") and

Luis Nieves Ochoa ("Chino").       Arturo Garcia testified that          I

offered to pay Alan for murdering Ruth et al., in part, by

funneling lucrative kidnapping opportunities to Alan Garcia.

      6.    Garcia further testified that, during      a   second encounter,

he and his son, Alan, went to Dalia Valencia's house in Thunder

Ridge (see Trial Exhibit 143), where Emmanuel, Dalia, and            I       were

present.    Garcia asserted at trial that it was at this alleged

meeting that    I   had solicited Alan to murder Franciso and Ruth

Sagredo.    However,    according to rental records, the house that

Garcia said belonged to Dalia Valencia actually was leased by a

real estate agent named Juan Larios, and neither Dalia nor               I    nor



                                Page   2   of 4
      Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 5 of 9



my brother Emmanuel had access to this house.                   These facts are

confirmed by rental records and by an affidavit from Mr. Juan

Larios.

     7.   To be sure, Alan Garcia was certainly involved in criminal

activity, including kidnapping people, killing people, and stealing

motor vehicles.     However, prior to his own death, Alan had worked

for the Juarez Cartel.     Indeed, his ex-wife, Ms. Ana Rosa Quesada,

stated unequivocally that Alan had been deeply involved with the

Juarez Cartel, even serving as a hit man for that particular cartel.

According to Ms. Quesada, Francisco Sagreda was killed because he

had refused to pay the monthly protection quota to one of the

cartels for which Alan had worked in Juarez.                    Francisco Sagreda

had previously received many threats from the cartels because of

his refusals to pay for "protection."

     8.   At no time was Alan Garcia under my command, nor did he

commit any illegal acts at my bidding.                    He was working indendently

for the Juarez Cartel,    and, until the day he was killed,                took his

orders from them.     Further,    I   have never, either directly or

indirectly, had any interaction with Ruben Alejandro Garcia

Valdiviezo ("Homie") or with Luis Nieves Ochoa ("Chino").                    Indeed,

the Government has interviewed both of these individuals, and both

stated that they have no idea who               I   am.

     FURTHER YOUR AFFIANT SAYETH NOT.

     EXECUTED AT WAYMART, PA THIS                   4     DAY OF JANUARY, 2020.

     I,   Samuel Velasco Gurrola, hereby declare under penalty of

perjury, pursuant to 28 U.S.C.          §       1746, that the foregoing is


                                 Page       3   of 4
      Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 6 of 9




true and correct to the best of my knowledge, information, and

belief.

                                Respectfully submitted,




                                  ámuel Velasco Gurrola
                                Reg. No. 51956-380
                                U.S. Penitentiary Canaan
                                P.O. Box 300
                                Waymart, Pennsylvania 18472




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Case 3:15-cr-01646-DB Document 344 Filed 02/07/20 Page 9 of 9




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